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                     Exhibit 51
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FAQs

Why did you carry out this review?
The existing guidance set out by the Sports Councils’ Equality Group (SCEG) around transgender inclusion in sport
from 2013 was out of date. We recognised that sport at every level required more practical advice and support in
this area to be able to maximise opportunities for inclusion and accessibility.


How did your review work?
Our review took the form of an in-depth consultation alongside a review of peer-reviewed public studies. The
consultation included a mixture of face-to-face interviews and written surveys across a huge diversity of sports
and countries - with 300 individuals from 27 countries and 175 organisations involved. Consultees were a mix
of individuals, organisational representatives, current and former athletes, people from the LGBT+ and women’s
groups and communities, and other specialist groups. The additional work explored and considered the most up
to date peer reviewed and published studies to early 2021.


What did the consultation find?
It found that there was widespread support for ensuring that sport was a welcoming place for everyone in
society, including for transgender people. It also, however, highlighted that there were concerns relating to
safety and fairness in relation to transgender inclusion, particularly in female sport and that there was no
consensus on a single solution as to how this should be addressed.


What did the review of published studies find?
Long-term evidence indicates that males have numerous physical advantages in sport compared with females,
and this is recognised in law in ‘gender-affected sport’. Current research indicates that testosterone suppression
does not negate this physical advantage over females and so cannot guarantee competitive fairness and/or
safety. This information is explained further in the Guidance and in full in the documents on Scientific Research
and Policy.


What did the Review Conclude?
The Review concluded that transgender inclusion, fairness and safety cannot be balanced in gender-affected
sport, but rather need to be prioritised across different options available to each sport. These options are
explained in the Guidance Document.


What do you mean by the words Inclusion, Fairness and Safety?
We accept that different people have a different understanding of what the terms ‘inclusion’, ‘fairness’ and
‘safety’ mean. For the purposes of this work, we are using ‘inclusion’ to mean the inclusion of transgender
people into the category of their choice. ‘Fairness’ means competitive equity in relation to the sex category, and
as defined within the Equality Act in relation to strength, stamina and physique in gender-affected sport. ‘Safety’,
which is also referenced in the Equality Act, refers to safety from the risk of injury.

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What is a gender-affected sport?
A gender-affected activity is a sport, game or other activity of a competitive nature in circumstances in which
the physical strength, stamina or physique of average persons of one sex would put them at a disadvantage
compared with average persons of the other sex as competitors in events involving the activity.


How is the guidance going to help sports to make decisions?
The guidance provides content and a framework on which sports can make decisions and sets out some of the
options a sport might consider, from prioritising transgender inclusion, or protecting the female category, and to
additionally introducing universal admission.


What science is this based on?
The review has explored and considered the most up to date peer-reviewed and published studies up to and
including early 2021. The references of the scientific research are given in the accompanying documents to the
Guidance. The Sport Councils are committed to reviewing the guidance regularly to ensure it aligns with the
latest research and recommendations.


Are you confident the research this is based on is robust?
The research this is based upon has been peer-reviewed and is publicly available, but we acknowledge that this is
an evolving space, and we will continue to review all available information as it emerges.


Is this for grassroots or elite?
This guidance is intended to support domestic UK sport, which we determine as any sport where there is
meaningful competition at a community to national level, and not at an international or elite level, where
guidance or regulations are covered by international federations or other bodies.


Why aren’t you giving definitive advice to sports?
This is a complex area and what is right for one sport may not be right for another. None of the Sports Councils
are regulators and we all understand that there is no one solution to suit everyone. Our aim is to ensure we
support sports in finding opportunities to achieve inclusion, fairness and safety, and we will provide a framework
for sports to do so.


The guidance is different to current IOC guidelines, will that cause an issue for sports?
The IOC announced recently that their guidelines are no longer fit for purpose, and they are continuing to
review them.


What does this mean for transgender people already taking part in sport?
Sports across the UK want to be as inclusive as possible, and we believe individual sports will continue to work
closely with and speak with those who are currently participating as part of any assessment that they might
undertake. The intention of this guidance is to encourage sports to think in innovative and creative ways to
ensure nobody is left out, and that there are more opportunities in sport for everyone.


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Is testosterone reduction deemed sufficient for transgender women to take part?
This is set out in the document. The research we currently have shows that testosterone reduction or
suppression does not negate all the physiological advantages of having developed testosterone driven strength,
stamina and physique.


What do you hope to see in the next 12 months?
We hope to see sports bodies across the UK engaging in the conversation around transgender inclusion in sport
in a respectful way and develop policies in this area which help facilitate access for everyone to participate.


How are you supporting sports to follow the guidance?
We will be engaging with governing bodies to raise awareness around transgender inclusion in sport following
the release of the guidance and research and will be working with them to review and develop their policies in
line with the needs of their sport.


What sports could there be a safety issue with?
We know that some contact, collision and combat sports have concerns on how to ensure safety while also
looking to provide transgender inclusion and are actively working to address this.


Are you committed to wider inclusion across sport?
The Sports Councils are united in their belief that everyone should have the opportunity to access sport and
physical activity. The evidence that is included within this guidance demonstrates that it is not possible to
achieve an equal balance between transgender inclusion, fairness and safety, particularly in female sport. This
is also the case in other categories in sport where eligibility is determined to provide safety and/or fairness as
well as inclusion, such as Masters’ competitions which are age restricted, or classifications in disability sport.
We encourage sports to consider how they can best support inclusion for everyone in their sport and we will be
working with partners to learn from some new approaches in this area.


How can this guidance be called ‘transgender inclusion’ when it doesn’t deliver on full
inclusion across all sport?
The guidance exists to help sports to adapt so that everyone can take part. Inclusion is the goal – but the review
we carried out made it clear that balancing transgender inclusion, safety and fairness at all times is not possible
in every sport. The guidance recognises that there needs to be different solutions for different sports, so it is
about acknowledging the needs of different groups.




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